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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 23-435 (RBW)
                                     )
MICHAEL BRADLEY,                     )
                                     )
                  Defendant.         )
____________________________________ )

                                              ORDER

       On November 20, 2024, the defendant, filed a motion seeking “an Order [from the Court]

continuing [his] sentencing [hearing] for [ninety] days, and for release [from detainment]

pending sentencing.” Defendant’s Motion to Continue Sentencing and for Release Pending

Sentencing (“Def.’s Mot.”) at 1, ECF No. 77. The defendant believes that in light of the results

of the 2024 Presidential Election, “it is very likely that defendants [such as himself, who have

been or will be] convicted of charges arising from [the] events at the [U.S.] Capitol on January 6,

2021, will be pardoned for those offenses[ by President-elect, Donald J. Trump].” Def.’s Mot.,

Exhibit (“Ex.”) 1 (Memorandum in Support of Defendant’s Motion to Continue Sentencing and

for Release Pending Sentencing (“Def.’s Mem.”)) at 3, ECF No. 77-1. In opposition to the

defendant’s motion, the government argues that “President Trump’s re-election . . . should have

no effect on the timeline in this case, nor should it affect the [d]efendant’s release status.”

Government’s Opposition to Defendant’s Motion for Release From Custody and to Continue the

Sentencing (“Gov’t’s Opp’n”) at 1, ECF No. 79.

       First, in regards to the defendant’s release status, relevant here is only whether the

defendant has established “by clear and convincing evidence that [ ] [he] is not likely to flee or

pose a danger to the safety of any other person or the community if released[ pending
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sentencing.]” 18 U.S.C. § 3143(a). The defendant relies on an exception to this statutory

mandate where “the judicial officer finds there is a substantial likelihood that a motion for

acquittal or a new trial will be granted[,]” 18 U.S.C. § 3143(a)(2)(A)(i); see Def.’s Mot., Ex. 1

(Def.’s Mem.) at 5, and that, under such circumstances a defendant should be released pending

sentencing. Despite the defendant failing to show that “there is a substantial likelihood that a

motion for acquittal or a new trial will be granted[,]” 18 U.S.C. § 3143(a)(2)(A)(i), he argues

that, generally speaking, “[t]he purpose of this provision is, obviously, to spare a defendant from

incarceration where there is a likelihood that the defendant ultimately will not be required to

serve time.” Def.’s Mot., Ex. 1 (Def.’s Mem.) at 5 (noting indications by President-elect Donald

Trump that he may pardon January 6, 2021, defendants).

        However, the statute enumerates two, and only two, exceptions that apply when a

judicial officer may release a defendant pending sentencing despite a finding that he may pose a

danger to the community—viz., (1) “[where] the judicial officer finds [that] there is a substantial

likelihood that a motion for acquittal or new trial will be granted[,]” 18 U.S.C. §

3143(a)(2)(A)(i), and (2) “[where] an attorney for the [g]overnment has recommended that no

sentence of imprisonment be imposed on the person[,]” id. § 3143(a)(2)(A)(ii). Here, neither

circumstance is applicable. And, as the Court has noted in other cases: “the representation that

the defendant will seek a pardon from the newly elected President, [ ] alone[,] is not a basis for

the Court to disregard the mandate of § 3143(a).” Order at 3 (Nov. 18, 2024), United States v.

Sarsfield, No. 23-138-3 (RBW), ECF No. 285. Speculation about what the future President

might do once he takes office cannot trump what the legislature commands a judicial officer

must do following a criminal conviction. Thus, the Court concludes that the defendant must

remain detained pending his sentencing.



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       Finally, the Court concludes that the defendant has not provided an adequate basis upon

which to continue his sentencing. The Court “has the right to control its own docket to require

that cases proceed in an orderly and timely fashion, [and thus,] the conclusion is inescapable that

the [C]ourt in exercise of a sound discretion may grant or deny motions for continuances.”

United States v. Burton, 584 F.2d 485, 490 (D.C. Cir. 1978). And, although the Court “must be

wary that it not ‘produce[ ] specific substantial prejudice’ in denying a motion for a

continuance[,]” United States v. Brown, No. 22-cr-114 (TJK), 2024 WL 291741, at *1 (D.D.C.

Jan. 24, 2024) (quoting United States v. McClendon, 379 F. App’x 898, 900 (11th Cir. 2010), the

Court is unconvinced by the defendant’s arguments that the potential consequences of failing to

continue his sentencing outweigh the “[public’s] interest in a timely resolution of this case.”

United States v. Bodye, 182 F. Supp. 3d 1, 4 (D.D.C. 2016). Therefore, the Court denies the

defendant’s motion to continue his sentencing.

       Accordingly, it is hereby

       ORDERED that the Defendant’s Motion to Continue Sentencing and for Release

Pending Sentencing, ECF No. 77, is DENIED.

       SO ORDERED this 4th day of December, 2024.



                                                              ________________________
                                                              REGGIE B. WALTON
                                                              United States District Judge




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